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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                   Case No. 1:19-cv-02443-RDM-ZMF

          v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, and MICHAEL
 SHUMAKER,

      Defendants.



         PLAINTIFFS’ NOTICE REGARDING REMOTE PARTICIPATION IN
                      SUMMARY JUDGMENT ARGUMENT

       Pursuant to the Court’s minute order of September 25, 2023, Plaintiffs hereby formally

notify the Court and Defendants that Plaintiffs will appear by videoconference at the summary

judgment argument set for October 12. As Defendants are aware, Plaintiffs have made the

necessary arrangements with the Court’s courtroom deputy.




 /s/ Julia Sheketoff                                 /s/ Mark Savignac
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 October 3, 2023
